                 IN THE UNITED STATES BANKRUPTCY COURT
        FOR THE EASTERN DISTRICT OF WISCONSIN, MILWAUKEE DIVISION

 In the Bankruptcy Matter of:
                                                       Bankruptcy No. 18-29858-kmp
 Frederick L Stemmeler, Jr.                            Judge Katherine M. Perhach
 Laurie A Stemmeler                                    Chapter: 13
                         Debtors

                     AGREED MOTION TO SUBSTITUTE ATTORNEY

        NOW COME Josephine J. Miceli of Johnson, Blumberg & Associates, LLC along with
Anna E. Rinehart formerly of Johnson, Blumberg & Associates, LLC, on an agreed motion for
substitution of attorney and hereby states as follows:

       1. Anna E. Rinehart of Johnson, Blumberg & Associates, LLC filed an appearance on
          behalf of Wilmington Savings Fund Society, FSB, doing business as Christiana Trust,
          not in its individual capacity, but solely as trustee for BCAT 2014-9TT (hereinafter,
          the “Creditor”).
       2. As of June 21, 2019, Anna E. Rinehart is no longer employed at Johnson, Blumberg
          & Associates, LLC and as such she will no longer represent the Creditor in the above
          captioned case.
       3. Therefore, Anna E. Rinehart and Josephine J. Miceli hereby respectfully request this
          Honorable Court enter an order substituting Josephine J. Miceli for Anna E. Rinehart
          as attorney for Creditor in the above captioned case.
       4. Both parties agreed the attorney for Creditor in the above captioned case shall
          hereafter appear as Josephine J. Miceli at 230 West Monroe, Suite 1125, Chicago, IL
          60606.
WHEREFORE, Josephine J. Miceli of Johnson, Blumberg & Associates, LLC along with Anna
E. Rinehart formerly of Johnson, Blumberg & Associates, LLC respectfully request that this
Honorable enter order substituting Josephine J. Miceli in the stead of Anna E. Rinehart as
attorney for Creditor.

Agreed to by:

 /s/ Anna E. Rinehart                             /s/ Josephine J. Miceli
 Anna E. Rinehart, ARDC #6321383                  Josephine J. Miceli, IL ARDC #6243494

Josephine J. Miceli
Johnson, Blumberg, & Associates, LLC
230 W. Monroe Street, Suite 1125
Chicago, Illinois 60606



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Ph. 312-541-9710
Fax 312-541-9711


                              NOTICE:
       THIS LAW FIRM IS ATTEMPTING TO COLLECT A DEBT AND ANY
        INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE




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                                CERTIFICATE OF MAILING

TO:    Frederick L Stemmeler, Jr., 609 Oakwood Dr., Thiensville, WI 53092
       Laurie A Stemmeler, 609 Oakwood Dr., Thiensville, WI 53092
       Rebecca R. Garcia, Chapter 13 Trustee, PO Box 3170, Oshkosh, WI 54903
       Michael J. Cerniglia, 2901 West Beltline Highway, Suite 301, Madison, WI 53713
       Shellpoint Mortgage Servicing, PO Box 10826, Greenville, SC 29603-0826
       Office of the U.S. Trustee, 517 East Wisconsin Ave., Room 430, Milwaukee, WI 53202
I, Josephine J. Miceli, an attorney, certify that I caused to be mailed the attached motion by
mailing a copy to the Debtors listed above on July 26, 2019, postage prepaid by depositing the
same in the U.S. Mail at 230 W. Monroe St., Chicago, IL 60606. The remaining parties were
served by this Court’s CM/ECF electronic noticing system.

                                             /s/ Josephine J. Miceli
                                             Josephine J. Miceli, IL ARDC #6243494

Josephine J. Miceli
Johnson, Blumberg, & Associates, LLC
230 W. Monroe Street, Suite 1125
Chicago, Illinois 60606
Ph. 312-541-9710
Fax 312-541-9711


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